Case 3:16-cv-00594-JAH-BGS Document 31 Filed 01/06/17 PageID.178 Page 1 of 1
  To:                          Mail Stop 8                                      REPORT ON THE
           Director of the U.S. Patent and Trademark Office        FILING OR DETERMINATION OF AN
                             P.O. Box 1450                         ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313−1450                                    TRADEMARK
 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has
 been filed in the U.S. District Court Southern District of California on the following: _X_ Patents or ___
 Trademarks:

  DOCKET NO.                    DATE FILED                US District Court Southern District of California

  3:16−cv−00594−JAH−BGS         3/9/16                    San Diego, CA
  PLAINTIFF                                               DEFENDANT

  Robert Bosch GmbH, et al.                               Muscle Motors Performance, Inc.
          PATENT OR                   PATENT OR                               PATENT OR
       TRADEMARK NO.               TRADEMARK NO.                           TRADEMARK NO.
  1. 1,637,401                   6.                       11.
  2. 263,502                     7.                       12.
  3. 633,563                     8.                       13.
  4.                             9.                       14.
  5.                             10.                      15.
              In the above−entitled case, the following patents(s)/ trademark(s) have been included:

  DATE INCLUDED                       INCLUDED BY

                                      __ Amendment __ Answer __ Cross Bill __ Other Pleading
           PATENT OR                              PATENT OR                           PATENT OR
         TRADEMARK NO.                         TRADEMARK NO.                      TRADEMARK NO.
  1.                                  6.                                   11.
  2.                                  7.                                   12.
  3.                                  8.                                   13.
  4.                                  9.                                   14.
  5.                                  10.                                  15.
            In the above−entitled case, the following decision has been rendered or judgment issued:

  DECISION/JUDGMENT Judgment against defendants


  CLERK                             (BY) DEPUTY CLERK                              DATE
                                         s/ J. Diaz                                      1/31/2017
  John Morrill
